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                In the United States Court of Federal Claims
                                            No. 97-579C

                                     (Filed February 26, 2010)

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SGS-92-X003,                                             *
                                                         *
                       Plaintiff,                        *
                                                         *
               v.                                        *
                                                         *
THE UNITED STATES,                                       *
                                                         *
                       Defendant.                        *
                                                         *
* * * * * * * * * * * * * * * * * * * * * * ** * * * *

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                                   SCHEDULING ORDER
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On February 26, 2010, the Court convened a telephonic status conference with the parties to discuss
scheduling for pretrial filings and trial dates. In accordance with the representations of the parties,
the Court schedules the following:

       1.      The parties shall file any motions in limine by March 17, 2010.

       2.      The parties shall file any responses to motions in limine by March 24, 2010.

       3.      A pretrial conference shall be held at the Court of Federal Claims in
               Washington, D.C., on March 29, 2010, at 2:00 pm in a court room to be
               determined.


                                       s/ Mary Ellen Coster Williams
                                       MARY ELLEN COSTER WILLIAMS
                                       Judge
